                    Case 5:18-cv-01530-JLS Document 2 Filed 04/11/18 Page 1 of 15




JL         UNITED STATES DISTRICT COURT
           EASTERS DISTRICT OF PENNSYLVAl~IA



                                                                                                              18                1530
              rln the space above enter the Jul! name(s) of the plaintijf(s).)


                                     - against -

           .PERZIs CilJNIY JAIL SYSIEM                                                            CO~IPLAI~T

           EERK Is CXlNLY JAIL SYSIEM' s WARI:EN Jb,N1NE QJJGLEY                                       under the
           EEW'S CilNIY JAIL SYSIEM'S EMPlO':l.EE SCOXIllTAN(srelliro?) Civil Rights Act, 4~ C.S.C. § 1983
                                                                                 --r-    ~""      (Prisoner Complaint)

           Prim:Care Merli.cal,       oc.
                                                                                               Jury Trial: 0 Yes   oo    r-<o
           ffinsylvani a Prarrl Of PJ::ol:atioo Arrl Parole                                                  (check one)




       rIn the space above enrer thejiill name(s) of the defendant(;). l/vou
      can no I fit the names of all of the de/~ndanls in the space provided,
      plt!ase ttrilt! "see attached" in tht! space above and attach an
      additional sheet a/paper with the/it!! list of names. The names
      listt!d in !ht! ahoi·e caprion must be identical to those contained in
      Purt !. Addresses should not be included here.)


      I.         Parties in this complaint:

      A.         List your name, identification number, and the name and address of your current place of
                 confinement. Do the same for any additional plaintiffs named. Attach additional sheets of paper
                 as necessary.

     Plaintiff           r-;-ame    lbn:nic. Antmio QErrisi                             (See attached "Note on Name")
                         ID #       alt.7-19.D
                         Current Institution       Berk's Chnty Jail 5\'stan
                         Address    1287 Caney I..Wfare RcHJ
                           1 usam,        m 19533-9397


     Rev. 1012009                                                                                          APR 1 1 2018



                                                                                                                                       /
                Case 5:18-cv-01530-JLS Document 2 Filed 04/11/18 Page 2 of 15

       B.        List all defendants' names, positions, places of employment, and the address where each defendant
                 may be served. Make sure that the defendant(s) listed below are identical to those ·contained in the
                 above caption. Attach additional sheets of paper as necessary.

       Defendant /\."o. l          Name     EfRK'S CilNlY .}\IL' &¥:>IEM                                            Shield #_ _ __
                                   \Vhere Currently Employed _eerl<'s Cgncy .TaU                           Syst.en
                                  Address        1?87 Cant;y J.Plfmp Jbd
                                                                  ,)
                                          I JIFSR RI~ PA 1Efil3-9'ID


     Defendant /\."o. 2           /\."ame13m<'sITTNlY 1AlL Sis.m1 1 ~ \iARl.IN ~ ~--­
                                  Where Currently Employed Perle's Cbncy Jail Systan

                                  Address       1287 OJmt¥ Wal fare B:a:I
                                          lJIESRR.l', PA 19533-9397

     Defendant l'."o. 3          Name~'~ CllNIY JAIL $YSIFM1S FMROfliF:)S[CJXD?:IF~~lli~?)
                                 Where Currently Employed00rk 1s OJnt;y Jgjl Syst.an
                                 Address 12.87 Outty \el.fare lb:rl
                                          IEESRRI',       PA   19533-9397

  Defendant i\o. -+              ;..;ame prim:OJrp         Mrlical, JllC.                                         Shield#_ _ __

                                 \Vhere Currently Employed             Perle's Cbncy Jail Systan
                                 Addr.~ss:12.87 O:mty JiPlfare Rem
                                       lJIESRR.l', PA 19533-9397

 Defendant 1'io. 5              /\."ame    ftrn>ylva:rla Jttml Of PrriEtim Arif                          RnnJgiield #_ _ __

                                Where Currently Employed ~P.,,,:,.,,.iB~-""P-"'.P....__,.M\IN........,"1...>CFF]""""
                                                                                                                ....rn""'...__ _ _ _ _ _ _ __

                                Address      tl0J. $J.I1b Ftmt Street
                                          WRRT9um, PA 1710J-2519
 II.         Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the
caption of this complaint is involved in this action, along with the dates and locations of all relevant events.
You may wish to include further details such as the names or'other persons involved in the events giving
rise to your claims. Do not cite any cases or statutes. If you intend to allege a number of related claims,
number and set forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.

A.           In what institution did the events giving rise to your claim(s) occur? lfRK'S CHNN:UATI.                              SVSIFM

B.           Where in the institution did the events giving rise to your claim(s) occur?                       Intake, E-Block(Q..n:antire)
                                       J-Block

C.          What date and approximate time did the events giving rise to your claim(s) occur?                          02/15/MB. 02/17/MB
                                                                                                                        Ul/Z::VMB 2/24/MB .APBD{.
                                                                                                                            1~IR5
Rev. 1012009                                                   - 2-
                              Case 5:18-cv-01530-JLS Document 2 Filed 04/11/18 Page 3 of 15



    What
  happened           D.       Facts:   A Violar:im of ny 8th amarl1a1t rJmt- in that I \\eS force:l 1¥ the P.B.P.P
   to you?
                          to go to an institut:im W:-ere ITo/ rra:&a1. ree:ls were rot rret arrl I \\eS blatantly µit in
                          darger at B.C.J.S(BERK'S <I1NIY JAIL SYSIEM) I frel this is en.El arrl urusual p..nishrent!
                          I arriva:l at Im.<'S crunY JAIL 5YSIEM en 01/17/Xll.8 l)Jcirg rey intake evaluation I infomcd
                          rm:li.cal staff I have 1B:::k prrblarE that C8USe rey leg to go ruib arrl that I na:d a lx>ttan 1:rnk
                          l:a::ause for me to re on tcp l:uJk is a <larger to rey health I was told I \\Ullltl na:d to file a sick-
                          Call arrl see the treatrrEl1t pruvidet- for that.(~ IPRilf PA-C) I filed sick ca1Ls or.,: 0>2/15/18,
   Who
    did
                          (J}/17/IB ad Cfl/Zl/IB l:a:ause on tlnse days IT¥ left leg \\e:lt rurb arrl I alrrost fell.
   what?                  en 0'2/2'.VXll.8 I awro:rlfil the block officer: SUJXDZIAN(S~?) arrl infomcd him that I,
                          cn:e again alnnst fell arrl that I did NJf · frel safe arrl feared for rey safety. on (J}/lA/Xll.8
                          at APffOt 1~ Wl1le clinbirg chvr1 off Ile lxn:il<: Ho/ leg vs:1t rmb, I fell, strikirg rey hea:l
                          @"xi a 1ttiq; i t op:n. I w:is t.akaJ. doMi to rm:li.cal v.here tre van:l \\eS }intg?;r§:hri, cJ..earai
                          arrl I \\eS issu:rl 1B.JI:KFENby IRlMrARE t-tDICAL, OC. staff: ~'1<LJNE)a lx>ttan 1:rnk
    Was
   anyone
    else
                          D.o.J was isst.m at APHUC 18lmS on: (J}/'lA/Xll.8.
 involved?
                          MY celly at the   tine Imate: ANEERS rey celly in:           t1!l cell en J-Block cn (J}/24/Xll.8


 Who else
 saw what
happened?




              III.          Injuries:

              If you sustained injuries related to the events alleged above, describe them and state what medical
              treatment, if any, you required and received. I tell str:ikirg rey hea:l arrl cut~ it OJE1
                          I suffered fron heah:±es arrl bluay VlSJ.cn for several days after                   tre :ircideht,
                          as well as; a w::n:ser.irg of l:B::.kp:rin s:i.n::e I fell. I also fear :retaliation am frel as ~
               ----···-----------------------------
                          1I¥ MEll-h;irg is rot care:l for at this institution, my aroci.ety(for Yhi.ch I alrea:ly take na:ls
                          has \\UrSEifil drastically arrl I an urable to slrep at n:igpt.




             I\".         Exhaustion of Administrative Remedies:

             The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § I 997e(a), requires that" [n]o action shall be
             brought v.ith respect to prison conditions under section 1983 of this title, or any other Federal law, by a



             Rev. 1012009                                         - 3-
                   Case 5:18-cv-01530-JLS Document 2 Filed 04/11/18 Page 4 of 15

       prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as are
       available are exhausted." Administrative remedies are also kn0\\11 as grievance procedures.

      A.           Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

                   Yes    X No

      If YES, name the jail, prison, or other correctional facility where you were confined at the time of the
      events giving rise to your claim(s). BERK 1 S COUNTY JAIL

                       12 8 7 Canty ve1.fare 1b:ll L I.EESRRL', PA 19533-9397

      8.          Does the jail, prison or other com:ctional facility where your claim(s) arose have a grievance
                  procedure?

                  Yes X No             Do J\iot Know


   C.             Does the grievance procedure at the jail, prison or other correctional facility where your claim( s)
                  arose cover some or all of your claim(s)'.' '

                 Yes     X J\io        Do J\iot Know

                 IfYES, which claim(s)? Not bav:iq; rottan b.mk status arrl I also file::l rn gro..n:-ds
                       of mrlical negleCt.

  D.           Did you file a grievam:e in the jail. prison, or other correctional facility where your claim(s) arose·:

               Yes X        No

               Ifi\"O, did you file a grievance about the events described in this complaint at any other jail,
               prison, or other correctional facility?

               Yes          No


 E.          If you did file a grievance, about the events described in this complaint, where did you file the
             grievance'?
                        lfRK'S Cil.MY ..l\IL
             1.           \Vhich claim(s) in this complaint did you grieve?    The foc.t I \\ES rot given rottan b.mk status
                       as w=ll as rra:lical negla:.t b:cause I         YBS   injure::l as a :result.
            2.            \.Vhat was the result, if any?   1he jail sirrpzy resµxrlrl ''Yru have a UM-b.mk                D.O.J'
                       after th: foc.t I hrl alre.a::ly h:a1 injure::l!
            3.            What steps, if any, did you take to appeal that decision? Describe all efforts to appeal to
                         the highest level of the grievance process. 1he:ir is       ro ag:m1 systan for gcievan:::es at
                       Perk's Canty Jail systan that I an             ai.-.are   of, I wrote i;:arole t:el1irg than vh:tt ha);µnrl.
                       arrl that I did NJf fEEl safe here, I wrote a s:imili..ar letter to D.O.C ~
                       in harrish.n:ph.



Rev. 1012009                                                - 4-
                 Case 5:18-cv-01530-JLS Document 2 Filed 04/11/18 Page 5 of 15




     f.          If you did not file a grievance:


                 l.                                                                                     N/A
                           If there are any reasons why you did not file a grievance, state them here: - - - - - -




                           If you did not file a grievance but informed any officials of your claim, state who you
                           informed. when and how, and their response, if any:        N/A
                                                                                 ~-~----------




  G.           Please set forth any additional infom1ation that is relevant to the exhaustion of your administrative
               remedies.       I fila:l nultiple sick-calls I filerl gcievarce. arrl wrote letters to:
                             'DE l)µtl:tnatt of Ca.t"rect:lim arrl P.B.P.P(Perreylvania Eam:l of Prol:ati.on arrl Parole)
                             M3kirg thm aw:ire of tlE ca:rli.ti.ons I was urrler arrl tlE lock of rralical att:alti.c:n arrl
                              that I did    mr frel     safe   rere arrl want to go 1::a::k upstate to max a.it ITo/ state



 i\:ote:   You.may attach as exhibits to this complaint any documents related to the exhaustion of your
           admm1strat1ve remedies.



V.         Relief:


State what you want the Court to do for you (including the amount of monetary compensation, if any, that
you are seeking and the basis for such amount).  I an seekirg rroretary carµnsati.on :in excess of $2.:D,CUl.OO
                              'IlE IHWm.fNI' CF ClRRECTf(N) OO:ause p::rsuant to P.B.P .P 15 (N:>ti.ce of Eam:l IB:ision)
                              Tuge 2of3 Until I sign fonn: P~B.P .P 11 ~ fonn P .B.P.P 10 is issu:d(Vhich I have mt
                              sig'm arrl p.b.p.p 10-re.1.a:lse cnB:-- lES mt hHl isSllrl yet) it states
Rev. 1012009                                              - 5-
                         Case 5:18-cv-01530-JLS Document 2 Filed 04/11/18 Page 6 of 15

                         I rerain urler tbe juris::l:iction arrl ccntrol of 'IlE JE>ftRIME' CF crma:TICN> ro, t±Erefore;
                         tlEy are resixnsible for 8BfiIHilC that tran.spinrl here.
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                         a state :i.mate I was SE:Dt arrl to le 1nBerl in a CilNlY CINIRtCl' ..i\IL, in Yhich; I have rn
                         charges pgst or present arrl in Wrich rry health, safety arrl genzrml ti:ell-wrg was jEqR'di.zerl!
                                            0C - for amkal n:glEd, m:dical !T13lproctice arrJ pgin arrl sufferirg
                         PcimOD:;e M:rlica] 1
                         !Espite, the fact; I wrote MJCT1HE sick-calls infonnirg than of tbe risk to rey l"mlth arrl
                         safety they did mthirg to help Wrich ra1JSErl ere a grmt 0031 of anxiety arrl evenbJally injury

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                         JP?Sibly fatally arrl tbe distress that causa:i rre is cru2l arrl urusual µmi.sl:nB:lt!
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                         W:al I ha:1 almst faJ 1AT arrl inj1 nrl nysel f for the fo Jrtb tirre I arpmocherl Officer
                         srJIIDlTAN(SreJlirg?) WP w:is the block offic;pr that n:iIDt arrl infonm:i him that I hai alrrost
                         fallen arrl tlat I c.urreJtly fearfil for £W safety, that there was a lx>ttan hmk qai. in cell
                         :J:J :J m .Hl!XX arrJ to pl ease UDlle rre or cmtoct a SI ip?nri sar to cb so,             re IPEpJlJirl
                         ''lhi.£ isrtt youi; ~rot.el, oon't like YiEre ya.n: at? D:n't care to jail!"
                         1h= very rext day (02/24/a>.1.8) Vhile clirrbirg ch.n off tbe top hmk is \\ta1 I fell,
                         inj~ reyself. ruv, I'm c1ealirg with anxiety I fear they'll retaliate l:s::aiJS? tbey krnv there
          n.            Previous lawsuits:     in trruble arrl that I an filirg a lawsuit.

          A.        Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
                    action:
  On
these
claims              Yes          J\io   X
          B.        [fyour answer to A is YES. describe each lawsuit by answering questions I through 7 below. (If
                    thae is more than one lawsuit, describe the additional lawsuits on another sheet of paper, using
                    the same format. )

                    I.         Parties to the previous lawsuit:

                   Plaintiff            N/A
                   D.:fendants           N/A
                                  -~-----------------------~




                   .,          Court (if federal court, name the district; if strte court, name the county) _NJ._A
                                                                                                                 _ _ __
                   3.          Docket or Index: number _ _ _N/._A________________



         Rev. 1012009                                             - 6-
                             Case 5:18-cv-01530-JLS Document 2 Filed 04/11/18 Page 7 of 15

                              4.       Name of Judge assigned to your case_......,........__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                              5.       Approximate date of filing lawsuit ___N;'._A_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                              6.       Is the case still pending?     Yes        t-io       X

                                       IfNO, give the approximate date of disposition           NIA
                                                                                                ---------------~



                             7.        What was the result of the case? (For example: Was rw;.ase dismissed? Was there
                                      judgment in your favor? \Vas the case a p p e a l e d ? ) - - - - - - - - - - - - - - -




             C.               Have you filed other lawsuits in state or federal court?
  On
other                        Yes        1'."o X
claims

             D.              ff your answer to C is YES, describe each lawsuit by answering questions 1 through 7 below. (If
                             there is more than one lawsuit, describe the additional lawsuits on another piece of paper, using
                             the same format.)

                         1.          Parties to the previous lawsuit:

                        Plaintiff             NIA
                        Defendants _ _....,.,,,.,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                        1           Court (if federal court, name the district; if state court, name the county) -~NJ'.~A~---

                        3.          Docketorindexnumber ___N;'._A_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                        4.          l\ame of Judge assigned to your case
                                                                                 -NIA
                                                                                   ------------------
                    5.              Approximate date of filing lawsuit __N;'.~A
                                                                             _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                    6.              ls the case still pending?      Yes      1'."o      X
                                    lfl\O, give the approximate date ofdisposition_N/._A_ _ _ _ _ _ _ _ _ _ _ _ _ __

                    7.              What was the result of the case? (For example: Was the case dismissed'.' \Vas there
                                   judgment in your favor'.' \Vas the case appealed'.')
                                                                                                -NIA
                                                                                                 --------------



          [declare under penalty of perjury that the foregoing is true and correct.

                                       .......TI~·--------' 2018_.
         Signed this -3nf day of_---"'Affi


                                                                      Signature of Plaintiff _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                                            Inmate Number
                                                                                                -2D17-19.D
                                                                                                  ----------------

         Rev. 10/2009                                                     - 7-
               Case 5:18-cv-01530-JLS Document 2 Filed 04/11/18 Page 8 of 15

                                                                Institution Address     1287 COUNTY WELFARE ROAD
                                                                                      LEESPORT, P.A 19533-9397




    1\ote:     All plaintiffs named in the caption of the complaint must date and sign the complaint and provide
               their inmate numbers and addresses.




    I decl::ire undc::r penalty of perjury that on this   3rd   day of_A_P_R_I_L______ , 201§_, I am delivering
   this complaint to prison authorities to be mailed to the Clerk's Office of the United States District Court for the
   Eastern District of Pennsylvania.




                                                          Signature of Plaintiff: - - - - - - - - - - - - - - - -




Rev. 1012009                                               - 8-
rl"\l..:J   l"\L   L'-1\J \.l'\.1.'..iV   .J..V/   v..1 I   ru.i.Ld'-C"l.L..L\,Jl.1   .Lv .L.1.UJ\..L'-L.I ..LL1 u.J..LJLL'\.L'-J.L   '->JV.1.\...1..   ,,,. •   ..u....,,_L   L.Lu....&.L   u....u. ........................   - .....   ~~~

(g.m:r RR1) A1TAClMNI'
       Case 5:18-cv-01530-JLS Document 2 Filed 04/11/18 Page 9 of 15
                                                     UN I T E D S T AT E S D I S T R I CT                                                                                                                              C 0 U R T\
                                                                                        F        0         R              T           H          E
                             EA S ~ER N D I S TR I CT                                                                                   0 F                      PENN S Y L VA Nil A




DOMONIC ANTONIO GUERRISI                                                                            )
                           PLAINTIFF
                                                                                                    )

PERK' s            m NIY .TAU. SVSJFM                                                               )
                    DEFENDANT                                                     CML !Cl'IlN ID.
                                                   SV$IFM S wmi6J janire ~,.::i:qt~ri:f!gl~ey::!::='------------
                                                                1
PERK'S ITTNIY .TAD

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HWSYf VANIA IrnRD CF ffi'FATICN AND PARCI p)
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This attachment is in reference to the spelling of two names
mentioned in this form:

              1.) The spelling in which I was incarcerated under
at both s ..iC.I GRATERFORD and BERK'S COUNTY JAIL SYSTEM is in-
correct. I am detained under the name "DOMINI UE ANTOINO GUERRISI
the correct spelling of my name is: DO ONIC ANTONIO GUERRISI
as it appears on my birth certificate




           2.) ~he corrections officer on duty on 02/23/2018
as the block officer on J-BLOCK at BERK'S COUNTY JAIL SYSTEM whom
I informed that I had almost fallen and that i did NOT feel safe
I am not sure of the exact s ellin of his name to the best of m
knowledge it is something ike SLODODZIAN OR SLOBODZIAN
Case 5:18-cv-01530-JLS Document 2 Filed 04/11/18 Page 11 of 15




                                •
                                    PrimeCare Medical. Inc. .
                                    -,                  '   •       -.   ,,       ,   _ ••       -   -   :'   c   _,·   !'·   1i;.'         .   y   .,_ ' -i~'        j


               - SICK CALL REQUEST/ PETICION DE ENFERMl
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               NAME I NOMBRE.l'omin1~:                                            ~trid ~D'ATE I FECHA'
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Case 5:18-cv-01530-JLS Document 2 Filed 04/11/18 Page 12 of 15



                                   PrimeCare Medical. Inc.     ,                       ,~,Y     "

         - SICK CALL REQUEST lPETICION l)E ENFERMERIA
         •           "      '      •       "                                           11       •       '       I        •'




         NAME/NOMBRE                   fliwotn19ttr.t"~.1ettiii
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                                                                      . DATEjfECHA
         PATIENT NUMBER I NU MERO DE lDENTIFICACION DEL PACIENTE 1'1 tJ ~Jj

         DATE 0FBIRTII /FECHADE NACIMIEN1D 12) £ t~ It 'BJ..

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 j   .        (I'OBECOMPLETEDBY,PATIENT)!(PARA SES                            ~IM1LETADA POR PACIE~TE
     . REASON ~OR REQUEST I RAZONDE LA SOLICITUD~                                           0..JYt          Suw: ()~
             ~fn:me.       pa.:t\;:r Qc;m S{cet 9nJ
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                  PrimeCare Medical.' Inc.
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                                      Instructions: Refer to the inmate handbook for information on the inmate grievance system.

                                                                    Administration Use Only

 D   Does not fit criteria for an emergency/sensitive grievance        D    Form is incomplete                 D      Resubmit on proper form

                                  D   Lacks details                                      D   Must be completed in English

Statement: Detail the act or condition,.which caused this grievance. (Be speeific; list all dates, times, locations and witnesses.)!
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